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       UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

                                      NOTICE OF ENTRY OF
                                JUDGMENT ACCOMPANIED BY OPINION

                         OPINION FILED AND JUDGMENT ENTERED: 06/11/2018

    The attached opinion announcing the judgment of the court in your case was filed and judgment was entered on
the date indicated above. The mandate will be issued in due course.

   Information is also provided about petitions for rehearing and suggestions for rehearing en banc. The questions
and answers are those frequently asked and answered by the Clerk's Office.

    Costs are taxed against the appellant in favor of the appellee under Rule 39. The party entitled to costs is
provided a bill of costs form and an instruction sheet with this notice.

    The parties are encouraged to stipulate to the costs. A bill of costs will be presumed correct in the absence of a
timely filed objection.

    Costs are payable to the party awarded costs. If costs are awarded to the government, they should be paid to
the Treasurer of the United States. Where costs are awarded against the government, payment should be made to
the person(s) designated under the governing statutes, the court's orders, and the parties' written settlement
agreements. In cases between private parties, payment should be made to counsel for the party awarded costs or, if
the party is not represented by counsel, to the party pro se. Payment of costs should not be sent to the court. Costs
should be paid promptly.

    If the court also imposed monetary sanctions, they are payable to the opposing party unless the court's opinion
provides otherwise. Sanctions should be paid in the same way as costs.

    Regarding exhibits and visual aids: Your attention is directed Fed. R. App. P. 34(g) which states that the clerk
may destroy or dispose of the exhibits if counsel does not reclaim them within a reasonable time after the clerk gives
notice to remove them. (The clerk deems a reasonable time to be 15 days from the date the final mandate is issued.)




                                                                  FOR THE COURT

                                                                  /s/ Peter R. Marksteiner
                                                                  Peter R. Marksteiner
                                                                  Clerk of Court




cc: James Richard Ferguson
Robert E. Freitas
Daniel J. Weinberg
Joshua Young

17-2330 - Stone Basket Innovations, LLC v. Cook Medical LLC
United States District Court for the Southern District of Indiana, Case No. 1:16-cv-00858-LJM-TAB
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                 United States Court of Appeals
                     for the Federal Circuit
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                      STONE BASKET INNOVATIONS, LLC,
                              Plaintiff-Appellee

                                          v.

                               COOK MEDICAL LLC,
                                Defendant-Appellant
                               ______________________

                                     2017-2330
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                  Appeal from the United States District Court for the
               Southern District of Indiana in No. 1:16-cv-00858-LJM-
               TAB, Judge Larry J. McKinney.
                               ______________________

                               Decided: June 11, 2018
                               ______________________

                   ROBERT E. FREITAS, Freitas Angell & Weinberg LLP,
               Redwood City, CA, argued for plaintiff-appellee. Also
               represented by DANIEL J. WEINBERG, JOSHUA YOUNG.

                  JAMES RICHARD FERGUSON, Mayer Brown, LLP,
               Chicago, IL, argued for defendant-appellant.
                                ______________________

                  Before PROST, Chief Judge, WALLACH and TARANTO,
                                   Circuit Judges.
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               2           STONE BASKET INNOVATIONS, LLC    v. COOK MED. LLC



               WALLACH, Circuit Judge.
                    Appellee Stone Basket Innovations, LLC (“Stone”)
               sued Appellant Cook Medical LLC (“Cook”) in the U.S.
               District Court for the Southern District of Indiana (“Dis-
               trict Court”), alleging infringement of U.S. Patent
               No. 6,551,327 (“the ’327 patent”). Following a dismissal
               with prejudice, see Stone Basket Innovations, LLC v. Cook
               Med. LLC (Stone Basket I), No. 1:16-cv-00858-LJM-TAB
               (S.D. Ind. Jan. 11, 2017) (J.A. 1157), Cook filed, inter
               alia, a motion for attorney fees pursuant to 35 U.S.C.
               § 285 (2012) (“the § 285 Motion”). The District Court
               issued an order denying the § 285 Motion. Stone Basket
               Innovations, LLC v. Cook Med. LLC (Stone Basket II), No.
               1:16-cv-00858-LJM-TAB, 2017 WL 2655612, at *1 (S.D.
               Ind. June 20, 2017).
                  Cook appeals. We have jurisdiction pursuant to
               28 U.S.C. § 1295(a)(1) (2012). We affirm.
                                       BACKGROUND
                    In April 2015, Stone filed its patent infringement suit
               against Cook in the U.S. District Court for the Eastern
               District of Texas (“Eastern District”), alleging infringe-
               ment of the ’327 patent. J.A. 41–44. The ’327 patent
               relates to a basket-type stone extraction medical device
               used to remove stones from biological systems. See ’327
               patent, Abstract, col. 1 ll. 9–12. The claimed extraction
               basket includes a “support filament” such as a wire with a
               slideable outer sheath, “a handle comprising a sheath
               movement element,” and a “collapsible” wire basket used
               to collect the stone. Id. col. 6 ll. 10, 16, 19; see id. col. 6
               ll. 8–45 (claim 1); see also id. col. 5 ll. 1–17.
                   In May 2015, Cook filed a motion to transfer venue
               from the Eastern District to the District Court. J.A. 59–
               71. In October 2015, Cook served its invalidity conten-
               tions. J.A. 1598–625. In January 2016, Cook deposed the
               ’327 patent’s inventor, during which he was asked ques-
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               tions about his contact with Stone’s managing members,
               Daniel Mitry and Timothy Salmon, and the conception
               and filing of the ’327 patent.        J.A. 1504–05, 1510,
               1526−27. Specifically, the ’327 patent’s inventor stated,
               regarding the addition of the “sheath movement element”
               in claim 1 to overcome an examiner’s rejection, “I realize
               there is nothing novel about it.” J.A. 1510.
                   In March 2016, Cook petitioned the U.S. Patent and
               Trademark Office’s (“USPTO”) for inter partes review
               (“IPR”) of all claims of the ’327 patent. See J.A. 1628−75;
               see also Stone Basket II, 2017 WL 2655612, at *3. Mean-
               while, upon granting Cook’s Motion to Transfer Venue,
               J.A. 832–34, the Eastern District transferred the case to
               the District Court. Then, in April 2016, the parties filed a
               joint motion to stay the case pending the Patent Trial and
               Appeal Board (“PTAB”)’s consideration of Cook’s petition
               for an IPR, which the District Court granted. J.A.
               841−43.
                   In September 2016, the PTAB instituted an IPR on all
               claims of the ’327 patent. Stone Basket II, 2017 WL
               2655612, at *3. Following the PTAB’s institution, one of
               Stone’s managing members offered to license the ’327
               patent to Cook in exchange for $150,000.00. Id.; see
               J.A. 1714 (confirming license offer in affidavit by Cook’s
               attorney). However, negotiations broke down. See J.A.
               1716–22 (providing an email exchange between counsel).
               In December 2016, Stone filed a motion requesting ad-
               verse judgment in the IPR proceeding, J.A. 1724–26, and
               the PTAB granted the adverse judgment motion and
               cancelled all of the ’327 patent’s claims, J.A. 1729–30.
                   That same month, Stone moved to dismiss the District
               Court litigation with prejudice, see J.A. 885, which the
               District Court granted, see Stone Basket II, 2017 WL
               2655612, at *3. In March 2017, Cook filed its § 285 Mo-
               tion, J.A. 1233−61; however, the District Court denied the
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               4           STONE BASKET INNOVATIONS, LLC   v. COOK MED. LLC



               § 285 Motion, because it determined the case was not
               “exceptional,” Stone Basket II, 2017 WL 2655612, at *1.
                                      DISCUSSION
                       I. Standard of Review and Legal Standard
                    By statute, a “court in exceptional cases may award
               reasonable attorney fees to the prevailing party.” 35
               U.S.C. § 285. “[A]n ‘exceptional’ case is simply one that
               stands out from others with respect to the substantive
               strength of a party’s litigating position (considering both
               the governing law and the facts of the case) or the unrea-
               sonable manner in which the case was litigated.” Octane
               Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct.
               1749, 1756 (2014). The Supreme Court explained that
               “[t]here is no precise rule or formula for making” that
               determination. Id. (alteration in original) (internal quota-
               tion marks and citation omitted). Instead, “[d]istrict
               courts may determine whether a case is ‘exceptional’ in
               the case-by-case exercise of their discretion, considering
               the totality of the circumstances.” Id.
                    On appeal, we “review all aspects of a district court’s
               § 285 determination for abuse of discretion.” Highmark
               Inc. v. Allcare Health Mgmt. Sys., Inc., 134 S. Ct. 1744,
               1747 (2014). “We apply Federal Circuit case[]law to the
               § 285 analysis, as it is unique to patent law.” Digeo, Inc.
               v. Audible, Inc., 505 F.3d 1362, 1366 (Fed. Cir. 2007)
               (citation omitted). A district court abuses its discretion
               when it “base[s] its ruling on an erroneous view of the law
               or on a clearly erroneous assessment of the evidence.”
               Rothschild Connected Devices Innovations, LLC v. Guard-
               ian Prot. Servs., Inc., 858 F.3d 1383, 1387 (Fed. Cir. 2017)
               (quoting Highmark, 134 S. Ct. at 1748 n.2). “A factual
               finding is clearly erroneous if, despite some supporting
               evidence, we are left with the definite and firm conviction
               that a mistake has been made.” Id. (internal quotation
               marks and citation omitted).
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                 II. The District Court Did Not Abuse Its Discretion in
                              Denying Cook’s § 285 Motion
                    This appeal involves two main issues, namely, wheth-
               er the District Court erred in its assessment of: (1) the
               substantive strength of Stone’s litigating position, and
               (2) the alleged pattern of vexatious litigation by Stone.
               We address these issues in turn.
               A. The Substantive Strength of Stone’s Litigating Position
                    Under Octane, a district court may consider “the sub-
               stantive strength of a party’s litigating position” when
               determining if the case “stands out from others.” 134 S.
               Ct. at 1756. The District Court analyzed the record—
               including the ’327 patent’s prosecution history and prior
               art, the inventor’s deposition testimony concerning the
               sheath’s “novelty,” and Stone’s decision to cancel its
               patent—yet ultimately found these factors did not demon-
               strate that Stone had “willfully ignored the prior art or
               failed to evaluate its case,” or that Stone’s “actions
               were . . . objectively unreasonable in light of the circum-
               stances.” Stone Basket II, 2017 WL 2655612, at *5 (inter-
               nal quotation marks omitted). Cook argues that the
               District Court “disregarded both the law and the facts
               showing the weakness of [Stone’s] patent claims.” Appel-
               lant’s Br. 24 (capitalization modified). We disagree with
               Cook.
                    The District Court did not abuse its discretion in find-
               ing that the substantive strength of Stone’s ultimately
               non-prevailing litigating position did not warrant an
               award of fees. Cook submitted two primary pieces of
               evidence to support its arguments for exceptionality—
               Cook’s invalidity contentions served in the Eastern Dis-
               trict and the ’327 patent’s inventor testimony. The Dis-
               trict Court did not abuse its discretion in finding that
               neither piece of evidence, taken alone or together, war-
               ranted a finding of exceptionality.
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                    First, the District Court did not err in finding Stone
               lacked any type of “clear notice” of the ’327 patent’s inva-
               lidity by service of Cook’s invalidity contentions. Id. at
               25; see Stone Basket II, 2017 WL 2655612, at *4. Alt-
               hough Cook focuses on the obviousness of the ’327 patent
               over U.S. Patent No. 6,168,603 (“Leslie”) on appeal, that
               reference was not the focus of Cook’s invalidity conten-
               tions, which listed Leslie along with thirty-one other
               pieces of prior art as anticipatory references. J.A. 1601–
               02; see also J.A. 1602 (singling out only other prior art
               references Gilson and Greenhalgh—not Leslie—from that
               list of thirty-two). After providing that list of thirty-two
               references, Cook made the general statement that “[e]ach
               prior art reference disclosed above [in the list of thirty-
               two], either alone or in combination . . . , renders the
               asserted claims invalid as obvious,” J.A. 1602, included a
               legal standard section for motivation to combine,
               J.A. 1603–05, and attached inconsistent and unilluminat-
               ing claim charts, see, e.g., J.A. 1614–25 (attaching claim
               charts lacking inclusion of Leslie), J.A. 1601, 1614, 1619
               (referencing U.S. Patent No. 6,383,196 (“the ’196 patent”),
               which is another patent issued to Leslie, in the claim
               chart for only two of claim 1’s seven claim limitations
               despite the fact that Cook includes the ’196 patent in its
               list of anticipatory references). The Eastern District’s
               Local Patent Rules governing invalidity contentions
               require that “each such combination, and the motivation
               to combine such items, must be identified,” and “[a] chart
               identifying where specifically in each alleged item of prior
               art each element of each asserted claim is found.” E.D.
               Tex. P.R. 3-3(b), (c). 1 While compliance with local patent
               rules is not always necessary to provide “clear notice” of


                   1   In a letter between counsel, Stone asserted its po-
               sition that Cook’s invalidity contentions were not in
               compliance with the Eastern District’s local patent rules.
               J.A. 1942–43.
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               invalidity, Cook’s invalidity contentions, at minimum, fall
               short of notifying Stone how Leslie renders the ’327
               patent obvious—or even that Stone should conduct a
               focused investigation on whether Leslie, in particular,
               renders the ’327 patent obvious.
                    Moreover, Leslie is listed on the face of the ’327 pa-
               tent, see ’327 patent, References Cited, and when prior art
               “is listed on the face” of a patent, “the examiner is pre-
               sumed to have considered it,” Shire LLC v. Amneal
               Pharm., LLC, 802 F.3d 1301, 1307 (Fed. Cir. 2015). We
               have explained that, where a party only relies on prior art
               considered by an examiner in its invalidity contentions,
               that party has the burden to “overcome[e] the deference
               that is due to a qualified government agency presumed to
               have properly done its job, which includes one or more
               examiners who are assumed to have some expertise in
               interpreting the references and . . . whose duty it is to
               issue only valid patents.” PowerOasis, Inc. v. T-Mobile
               USA, Inc., 522 F.3d 1299, 1304 (Fed. Cir. 2008) (internal
               quotation marks and citation omitted). Having been
               issued a valid patent, Stone was entitled to a presumption
               of good faith in asserting its patent rights against Cook in
               the form of a suit for infringement. See Checkpoint Sys.,
               Inc. v. All-Tag Sec. S.A., 858 F.3d 1371, 1376 (Fed. Cir.
               2017) (stating there is a “presumption that an assertion of
               infringement of a duly granted patent is made in good
               faith” (internal quotation marks and citation omitted)).
               Cook’s invalidity contentions, based on prior art already
               considered by the Examiner and with no further explana-
               tion, do not make the substantive strength of Stone’s
               position exceptional.
                   Second, while one might view Stone’s litigating posi-
               tion as weak given the inventor’s deposition testimony
               regarding the novelty and origin of claim 1’s sheath
               handle element, see J.A. 1504–05, 1510, 1526−27, a strong
               or even correct litigating position is not the standard by
               which we assess exceptionality, see SFA Sys., LLC v.
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               Newegg Inc., 793 F.3d 1344, 1348 (Fed. Cir. 2015). “A
               party’s position on issues of law ultimately need not be
               correct for them to not ‘stand[] out,’ or be found reasona-
               ble.” Id. (quoting Octane, 134 S. Ct. at 1756). We decline
               Cook’s invitation to take out of context the inventor’s
               testimony, including that the ’327 patent’s hired illustra-
               tor used the Cook basket handle as inspiration for a
               portion of the ’327 patent’s Figure 1. See J.A. 1504–05,
               1510 (stating by inventor that the ’327 patent’s represen-
               tations were “based on” “the Cook handle”).
                   Moreover, contrary to Cook’s argument, an inventor’s
               testimony that “there is nothing novel about [the sheath
               movement],” J.A. 1510, taken alone, neither “establishe[s]
               the invalidity of the patent on obviousness grounds” nor
               constitutes a “material false statement[] to the [US]PTO,”
               Appellant’s Br. 27, 28. A post-issuance statement regard-
               ing a single element of a claimed invention does not
               establish invalidity because “[w]e must consider the
               subject matter sought to be patented taken as a whole.”
               Graham v. John Deere Co., 383 U.S. 1, 32 (1966). During
               prosecution, the USPTO found that the inventor’s
               amendment adding the “handle portion comprising a
               sheath movement element, . . . as proposed, would over-
               come the rejection.” J.A. 1446. Indeed, duly issued
               patents are presumed valid. See 35 U.S.C. § 282(a);
               Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S. 91, 95 (2011).
               It was not necessarily unreasonable for Stone to continue
               to rely on the ’327 patent’s presumption of validity despite
               the ’327 patent’s inventor testimony. See Q-Pharma, Inc.
               v. Andrew Jergens Co., 360 F.3d 1295, 1303 (Fed. Cir.
               2004) (concluding, in an appeal from a denial of a fee
               award, that a party’s decision to proceed with a lawsuit
               was not frivolous “in light of the statutory presumption of
               validity”). As the trier of fact, the District Court had
               discretion to weigh and find credible the evidence before
               it. See Inwood Labs., Inc. v. Ives Labs., Inc., 456 U.S. 844,
               856 (1982) (“Determining the weight and credibility of the
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               evidence is the special province of the trier of fact.”). We
               will not disturb its findings on appeal.
                   In response to Cook’s contention that Stone’s litigat-
               ing position was “not tenable,” the District Court ex-
               plained that:
                   perhaps most telling, was the fact that following
                   Cook’s service on [Stone] of its invalidity conten-
                   tions, it took no actions to ensure a rapid termina-
                   tion of the instant litigation . . . [including that it,
                   inter alia,] did not: (1) inform [Stone] that it be-
                   lieved the lawsuit to be frivolous or unfounded;
                   [or] (2) demand that [Stone] drop the lawsuit or
                   indicate that the asserted claims were ‘clearly in-
                   valid.’
               Stone Basket II, 2017 WL 2655612, at *4 (emphasis
               added). On appeal, Cook faults the District Court for
               citing “no authority for the proposition that tactical
               decisions made by the prevailing party are relevant to an
               assessment of the strength of the non-prevailing party’s
               litigating positions.” Appellant’s Br. 29. We disagree
               with Cook.
                   The District Court was well within its discretion to
               factor in Cook’s litigation conduct, because “the conduct of
               the parties is a relevant factor under Octane’s totality-of-
               the-circumstances inquiry, including the conduct of the
               movant.” Gaymar Indus., Inc. v. Cincinnati Sub-Zero
               Prods., Inc., 790 F.3d 1369, 1373 (Fed. Cir. 2015) (footnote
               omitted) (considering conduct of the movant in assessing
               exceptionality). Such conduct includes Cook’s failure to
               send any communication to Stone that highlighted and
               set out with precision the specific invalidity argument on
               which Cook now relies for its assertion that Stone should
               have known its conduct was “clearly unreasonable,”
               Appellant’s Br. 17, or “objectively baseless,” id. at 25, so
               as to merit an award of attorney fees.
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                    Further, Cook’s failure to provide early, focused, and
               supported notice of its belief that it was being subjected to
               exceptional litigation behavior further supports the
               District Court’s determination that Stone’s litigating
               position did not “stand[] out” from others. Octane, 134 S.
               Ct. at 1756. Absent any evidence that Stone’s litigating
               position was frivolous when filed or at any point before it
               filed for dismissal, we are not persuaded the District
               Court abused its discretion in determining Stone’s case
               did not meet the standard for an award of attorney fees.
               Cf. Nat’l Oilwell Varco, L.P. v. Omron Oilfield & Marine,
               Inc., 676 F. App’x 967, 973 (Fed. Cir. 2017) (affirming
               award of attorney fees where a party was “on notice” of its
               potentially frivolous litigating position based on infor-
               mation provided by the opposing party, yet took no action
               to remedy its position).
                   Here, litigation commenced in April 2015, J.A. 29, and
               Cook served its invalidity contentions in October 2015,
               Stone Basket II, 2017 WL 2655612, at *2. The ’327 patent
               inventor’s testimony regarding the novelty of the sheath
               was taken in January 2016. J.A. 1839. The USPTO
               instituted the IPR in September 2016, J.A. 1690−91, at
               which time the litigation was stayed pending the IPR’s
               outcome, see Stone Basket II, 2017 WL 2655612, at *3. At
               each of these points during the litigation, we find nothing
               of record supporting Cook’s claim that Stone was “on clear
               notice” of the ’327 patent’s invalidity, yet “persisted in
               pressing . . . meritless claims.” Appellant’s Br. 25; see id.
               (relying only upon evidence of service of invalidity conten-
               tions and the inventor admissions as proof that Stone
               knew at those points its claims were meritless).
                   Moreover, a “party cannot simply hide under a rock,
               quietly documenting all the ways it’s been wronged, so
               that it can march out its ‘parade of horribles’ after all is
               said and done.” Aten Int’l Co. v. Uniclass Tech., No. CV
               15-04424-AG (AJWx), slip op. at 5 (C.D. Cal. Mar. 30,
               2018). We find this reasoning both persuasive and appli-
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               cable to this case. Cook waited until October 2016, nearly
               a year after service of its invalidity contentions, and nine
               months after the inventor’s statements regarding the
               sheath’s novelty, before informing Stone that, if Stone
               refused to drop its case, “Cook intend[ed] to file . . . a
               motion for attorneys’ fees against [Stone], its principals
               and its attorneys.” J.A. 1717. During oral argument,
               counsel for Cook could not explain why it did not make its
               assertion of frivolousness of the claims known to Stone
               sooner.         See Oral Arg. at 11:37–12:19, http://
               oralarguments.cafc.uscourts.gov/default.aspx?fl=2017-
               2330.mp3 (Q: “That [October 2016] email is . . . the kind
               of communication I am talking about, that is, it
               says . . . that if you don’t accept our settlement, then [we
               will file for attorney fees].” A: “I recognize that . . . .”
               Q: “It’s just that [the September 2016 letter] came very
               late, . . . and the proceedings ended . . . six weeks later.”
               A: “Yes . . . .” Q: “Why didn’t you send something like
               that [September 2016 settlement email] before?” A: “I
               didn’t think it would produce the result we were likely to
               see . . . .” (emphasis added)).
                   Cook argues that the Motion to Transfer Venue meant
               any possible notification to Stone while the case was
               before the Eastern District would not have resulted in the
               preferred result of dismissal. See id. at 5:51–6:05 (stat-
               ing, by Cook’s counsel, that he felt “neither the [Federal]
               Rule 11 [of Civil Procedure] nor the early summary judg-
               ment [motion] was going to give us an early exit” because
               of the “pending motion to transfer”). It does not matter
               that a procedural motion was pending in the Eastern
               District; nothing prevented counsel for Cook from notify-
               ing Stone’s counsel that Cook regarded Stone’s litigating
               actions as frivolous and explaining precisely why. Cook’s
               counsel acknowledged as much. See id. at 11:30–33
               (stating, by counsel for Cook, “maybe we could have
               written a letter”). Nor did anything prevent Cook from
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               asking the Eastern District to expedite its ruling on the
               Motion to Transfer Venue. See Fed. R. Civ. P. 16(a).
                   We are further unpersuaded by Cook’s counterargu-
               ment that this case is similar to Rothschild, see Appel-
               lant’s Br. 27 (citing 858 F.3d at 1388), in which we
               reversed a district court’s denial of a § 285 motion because
               the district court failed to consider plaintiff’s “willful
               ignorance of the prior art” given counsel for plaintiff
               admitted that counsel had “not conducted an analysis of
               any of the prior art asserted in [the cross-motion] to form
               a belief as to whether that prior art would invalidate” the
               patent. Rothschild, 858 F.3d at 1388. In Rothschild, the
               defendant also provided notice that the patent was invalid
               under 35 U.S.C. §§ 101 and 102, and filed a motion for
               judgment on the pleadings. See id. at 1385–86. The
               defendant further served plaintiff with a Rule 11 letter
               and appended both a draft Rule 11(b) motion and copies of
               anticipatory prior art. Id. at 1386. Here, by contrast,
               Cook failed to file any Rule 11 motion or motions for
               summary judgment, and has not set forth any concrete
               evidence that the District Court failed to consider Stone’s
               evaluation of its case in light of the evidence of record.
                   Our holding with respect to this factor does not dis-
               turb the rule that “a party cannot assert baseless in-
               fringement claims and must continually assess the
               soundness of pending infringement claims.” Taurus IP,
               LLC v. DaimlerChrysler Corp., 726 F.3d 1306, 1328 (Fed.
               Cir. 2013); see Medtronic Navigation, Inc. v. BrainLAB
               Medizinische Computersysteme GmbH, 603 F.3d 943, 954
               (Fed. Cir. 2010) (providing “[t]he salient inquiry is wheth-
               er [plaintiff’s] claims were so lacking in merit that [the
               plaintiff] was legally obligated either to abandon its case
               altogether or to limit itself to challenging the district
               court’s claim construction order on appeal”). Indeed, by
               December 2016, Stone moved to dismiss this litigation,
               and after a hearing on the same, the District Court dis-
               missed with prejudice. See Stone Basket II, 2017 WL
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               2655612, at *3. On the particular facts of this case, where
               there is no indication of willful ignorance or failure to
               assess the soundness of pending claims by Stone, Cook’s
               post-judgment notice of its assertion that the claims were
               always baseless cannot mandate an award of fees under a
               “totality of the circumstances” analysis. Octane, 134 S.
               Ct. at 1756. Accordingly, the District Court did not abuse
               its discretion in concluding that Stone’s litigating position
               did not “stand[] out from others.” Id.
                         B. Stone’s Conduct in Other Litigation
                    In considering the “totality of the circumstances” in a
               § 285 motion, a party’s similar conduct in other litigation
               is also relevant. See id. at 1757. The District Court found
               a lack of evidence to support Cook’s assertion that Stone
               sued Cook, like it had done other defendants, “for the sole
               purpose of forcing settlements without any intention of
               testing the merits of its claim.” Stone Basket II, 2017 WL
               2655612, at *6 (internal quotation marks and citation
               omitted). Further, the District Court noted that “[t]he
               evidence of record reveals that [Stone] participated in
               each stage of the litigation for nearly two years and tested
               the merits of its claims.” Id. Cook alleges the District
               Court improperly found that Cook made “conclusory
               allegations” regarding Stone’s alleged pattern of “vexa-
               tious litigation” solely “to extract a . . . nuisance pay-
               ment.” Appellant’s Br. 38. Instead, Cook avers that its
               evidence of more than 400 cases filed by entities managed
               by Stone’s managing members, Messrs. Mitry and Salm-
               on, demonstrates that Stone is part of a larger plan to
               force nuisance settlements, constituting exceptional
               litigation conduct. Id. at 38–41 (citing J.A. 1284–340).
               We disagree with Cook.
                   A district court “may award fees in the rare case in
               which a party’s unreasonable conduct—while not neces-
               sarily independently sanctionable—is nonetheless so
               ‘exceptional’ as to justify an award of fees.” Octane, 134 S.
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               Ct. at 1757. The Supreme Court has characterized § 285
               as a “safeguard[]” and has “stress[ed]” that “district courts
               have the authority and responsibility to ensure frivolous
               cases are dissuaded.” Commil USA, LLC v. Cisco Sys.,
               Inc., 135 S. Ct. 1920, 1930−31 (2015) (citation omitted).
               We have stated that “a pattern of litigation abuses char-
               acterized by the repeated filing of patent infringement
               actions for the sole purpose of forcing settlements, with no
               intention of testing the merits of one’s claims, is relevant
               to a district court’s exceptional case determination under
               § 285.” Newegg, 793 F.3d at 1350.
                   Here, despite Cook’s table summarizing the extent of
               other Mitry-Salmon litigation, the District Court did not
               abuse its discretion. 2 The record lacks evidence that the
               number of settlements or type of settlement Stone pro-
               posed rises to what we have previously considered excep-
               tional. See Eon-Net LP v. Flagstar Bancorp, 653 F.3d
               1314, 1326–27 (Fed. Cir. 2011) (affirming a finding of
               exceptionality based on discovery misconduct and Eon-
               Net’s filing of over 100 lawsuits against “diverse defend-
               ants,” where Eon-Net “followed each filing by a demand



                    2  While we affirm the District Court’s ultimate ex-
               ceptionality determination, which considered evidence
               that Messrs. Mitry and Salmon are in the business of
               forming shell entities to extract nuisance settlements, see
               Stone Basket II, 2017 WL 2655612, at *6 & n.3, we note
               that Messrs. Mitry and Salmon appear to be patent
               attorneys who have been authorized to practice law, see
               J.A. 60; see also Oral Arg. at 19:05–11 (confirming the
               same by Stone’s counsel). Alternative means exist for
               punishing activities by licensed attorneys that might
               demonstrate unethical conduct. See Oral Arg. at 33:01–18
               (agreeing, by counsel, that “there are plenty of remedies
               that are available” if a party has been subject to improper
               conduct).
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               for a quick settlement at a price far lower than the cost to
               defend the litigation,” which was demonstrated by evi-
               dence of pro-forma settlement offers based on a license fee
               schedule of a defendant’s annual sales). Further, we find
               no evidence of an immediate settlement demand in the
               instant case. Instead, Stone litigated its position on the
               merits for nearly two years, presenting claim construction
               arguments before the District Court and responses to the
               IPR petition before the PTAB. As the Supreme Court has
               cautioned, fee awards are not to be used as a “penalty for
               failure to win a patent infringement suit.” Octane, 134 S.
               Ct. at 1753 (internal quotation marks and citation omit-
               ted). The District Court analyzed but ultimately found
               unpersuasive Cook’s arguments, and we see no reason to
               upset the District Court’s findings here. Therefore, we
               affirm the District Court’s determination that this case is
               not exceptional under 35 U.S.C. § 285. 3



                   3   Because we uphold the District Court’s finding of
               no exceptionality, we also affirm the District Court’s
               denial of Cook’s motion for attorney fees pursuant to 28
               U.S.C § 1927. See Stone Basket II, 2017 WL 2655612, at
               *3, *7–8. Cook’s only additional argument for why it
               merits fees under § 1927 is that Stone’s attorneys pursued
               “unnecessary . . . litigation” by filing suit in the Eastern
               District. Appellant’s Br. 41. We held the District Court
               did not abuse its discretion in denying fees under § 1927
               based upon its findings under the § 285 analysis as well
               as the fact that “Cook’s own counsel stated on the record
               that Cook sells the product in Texas and that there was
               no question about venue.” Stone Basket II, 2017 WL
               2655612, at *8 (internal quotation marks and citation
               omitted); see Jolly Grp., Ltd. v. Medline Indus., Inc., 435
               F.3d 717, 720 (7th Cir. 2006) (outlining the Seventh
               Circuit’s test for attorney fees under § 1927 and reviewing
               for abuse of discretion); Nystrom v. TREX Co., Inc., 424
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                                      CONCLUSION
                   We have considered Cook’s remaining arguments and
               find them unpersuasive. Accordingly, the Order of the
               U.S. District Court for the Southern District of Indiana is
                                      AFFIRMED




               F.3d 1136, 1141 (Fed. Cir. 2005) (reviewing a § 1927
               challenge under regional circuit law). We also affirm
               (1) the District Court’s denial of Cook’s motion to join
               Messrs. Mitry and Salmon, as that motion depends upon
               their personal liability for Cook’s fees under § 285, and
               (2) the District Court’s denial of Cook’s renewed motion
               for leave to conduct targeted discovery related to the § 285
               Motion.
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    UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
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                                     WASHINGTON, D.C. 20439

       PETER R. MARKSTEINER                                                        202-275-8000
          CLERK OF COURT


                                       Information Sheet

   Petitions for Rehearing and Petitions for Hearing and Rehearing En Banc

   1. When is a petition for rehearing appropriate?

       The Federal Circuit grants few petitions for rehearing each year. These petitions for
       rehearing are rarely successful because they typically fail to articulate sufficient
       grounds upon which to grant them. Of note, petitions for rehearing should not be used
       to reargue issues previously presented that were not accepted by the merits panel
       during initial consideration of the appeal. This is especially so when the court has
       entered a judgment of affirmance without opinion under Fed. Cir. R. 36. Such
       dispositions are entered if the court determines the judgment of the trial court is based
       on findings that are not clearly erroneous, the evidence supporting the jury verdict is
       sufficient, the record supports the trial court’s ruling, the decision of the administrative
       agency warrants affirmance under the appropriate standard of review, or the judgment
       or decision is without an error of law.

   2. When is a petition for hearing/rehearing en banc appropriate?

       En banc consideration is rare. Each three-judge merits panel is charged with deciding
       individual appeals under existing Federal Circuit law as established in precedential
       opinions. Because each merits panel may enter precedential opinions, a party seeking
       en banc consideration must typically show that either the merits panel has (1) failed to
       follow existing decisions of the U.S. Supreme Court or Federal Circuit precedent or (2)
       followed Federal Circuit precedent that the petitioning party now seeks to have
       overruled by the court en banc. Federal Circuit Internal Operating Procedure #13
       identifies several reasons when the Federal Circuit may opt to hear a matter en banc.

   3. Is it necessary to file either of these petitions before filing a petition for
      a writ certiorari in the U.S. Supreme Court?

       No. A petition for a writ of certiorari may be filed once the court has issued a final
       judgment in a case.

       For additional information and filing requirements, please refer to Fed.
       Cir. R. 40 (Petitions for Rehearing) and Fed. Cir. R. 35 (Petitions for
       Hearing or Rehearing En Banc).


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                                       Information Sheet

                          Filing a Petition for a Writ of Certiorari

   There is no automatic right of appeal to the Supreme Court of the United States from
   judgments of the Federal Circuit. Instead, a party must file a petition for a writ of
   certiorari which the Supreme Court will grant only when there are compelling reasons. See
   Supreme Court Rule 10.

   Time. The petition must be filed in the Supreme Court of the United States within 90 days
   of the entry of judgment in this Court or within 90 days of the denial of a timely petition for
   rehearing. The judgment is entered on the day the Federal Circuit issues a final decision in
   your case. The time does not run from the issuance of the mandate. See Supreme Court
   Rule 13.

   Fees. Either the $300 docketing fee or a motion for leave to proceed in forma pauperis with
   an affidavit in support thereof must accompany the petition. See Supreme Court Rules 38
   and 39.

   Authorized Filer. The petition must be filed by a member of the bar of the Supreme Court
   of the United States or by the petitioner as a self-represented individual.

   Format of a Petition. The Supreme Court Rules are very specific about the content and
   formatting of petitions. See Supreme Court Rules 14, 33, 34. Additional information is
   available at https://www.supremecourt.gov/filingandrules/rules_guidance.aspx.

   Number of Copies. Forty copies of a petition must be filed unless the petitioner is
   proceeding in forma pauperis, in which case an original and ten copies of both the petition
   for writ of certiorari and the motion for leave to proceed in forma pauperis must be filed.
   See Supreme Court Rule 12.

   Filing. Petitions are filed in paper at Clerk, Supreme Court of the United States, 1 First
   Street, NE, Washington, DC 20543.

   Effective November 13, 2017, electronic filing is also required for filings submitted by
   parties represented by counsel. See Supreme Court Rule 29.7. Additional information
   about electronic filing at the Supreme Court is available at
   https://www.supremecourt.gov/filingandrules/electronicfiling.aspx.

   No documents are filed at the Federal Circuit and the Federal Circuit provides no
   information to the Supreme Court unless the Supreme Court asks for the information.

   Revised May 10, 2018
